   Case 21-30589-MBK              Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15                     Desc
                                 Imaged Certificate of Notice Page 1 of 8

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                        Order Filed on April 12, 2022
                                                                        by Clerk
                                                                        U.S. Bankruptcy Court
                                                                        District of New Jersey




 In Re:                                                 Case No.:                21-30589(MBK)
                                                                              ____________________

  LTL MANAGEMENT, LLC,                                  Chapter:                       11
                                                                              ____________________

                                                        Hearing Date:        ____________________

                                                        Judge:                 Michael B. Kaplan
                                                                             ____________________




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                      &200,77((2)7$/&&/$,0$176,

      The relief set forth on the following pages, Ls ORDERED.




DATED: April 12, 2022
Case 21-30589-MBK        Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15               Desc
                        Imaged Certificate of Notice Page 2 of 8



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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                                                    and

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                                                    Co-Counsel for the
                                                    Official Committee of Talc Claimants I
Case 21-30589-MBK           Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15           Desc
                           Imaged Certificate of Notice Page 3 of 8




  In re:
                                                          Chapter 11
  LTL MANAGEMENT, LLC,
                                                          Case No.: 21-30589(MBK)
                                   Debtor.
                                                          Honorable Michael B. Kaplan



     ORDER AUTHORIZING RETENTION OF GILBERT LLP AS SPECIAL INSURANCE
         COUNSEL TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I


           The relief set forth on the following page is ORDERED.
Case 21-30589-MBK              Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15                                    Desc
                              Imaged Certificate of Notice Page 4 of 8




  This Court, having considered (i) the Amended Application for Retention of Gilbert LLP as Special

  Insurance Counsel for the Official Committee of Talc Claimants I WKH³$SSOLFDWLRQ´ which supersedes all

  prior applications and (ii) the Amended Certification of Kami E. Quinn in Support of Application for

  Retention of Gilbert LLP as Special Insurance Counsel to the Official Committee of Talc Claimants I (the

  ³Quinn &HUWLILFDWLRQ´ and is of the opinion that Gilbert LLP ³Gilbert´ GRHVQRWKROGRUUHSUHVHQWDQ\

  interest adverse to the estates, that Gilbert is a disinterested person within the definition of 11 U.S.C. §

  101(14), that Gilbert¶VHPSOR\PHQWLVLQWKHEHVWLQWHUHVWRIWKH2IILFLDO&RPPLWWHHRI7DOF&ODLPDQWVI (the

  ³TCC I´ (for the period of February 23, 2022 through April 12, 2022) and the Official Committee of Talc

  &ODLPDQWV ³7&&´  IRUWKHSHULRGDIWHU$SULO DVDSSOLFDEOH WKH³&RPPLWWHH´ 1, and that no

  further hearing on the Application is required. Upon tKH DSSOLFDQW¶V UHTXHVW IRU DXWKRUL]DWLRQ WR UHWDLQ

  Gilbert as Special Insurance Counsel to the Committee, it is hereby ORDERED:

  1.       The Application is GRANTED as set forth herein.

  2.       Pursuant to sections 328(a) and 1103 of the Bankruptcy Code, Rule 2014 of the Federal Rules of

  %DQNUXSWF\3URFHGXUH WKH³%DQNUXSWF\5XOHV´ DQG5XOH-1 of the Local Rules of Bankruptcy Practice

  and Procedure of the United States Bankruptcy Court for tKH'LVWULFWRI1HZ-HUVH\ WKH³/RFDO5XOHV´ 

  the Committee is authorized and empowered to employ and retain, and the Debtor is authorized to

  compensate and reimburse Gilbert as special insurance counsel during the noted periods in the above-

  captioned chapter 11 case upon the terms and conditions set forth in the Application.

  3.       The scope of Gilbert's retention will not include any dispute that may arise between Imerys Talc

  America, Inc. and LTL with respect to each entity's respective rights to proceeds under the policies.

  4.       To the extent that the Committee WKH ,PHU\V &RPPLWWHH RU WKH ,PHU\V )XWXUH &ODLPDQWV¶

  Representative determines that a conflict has arisen with respect to the Shared Coverage as defined in the


  1
   dŚĞĚĞĨŝŶĞĚƚĞƌŵƚŚĞ͞ŽŵŵŝƚƚĞĞ͟ƐŚĂůůƌĞĨĞƌĞŶĐĞd/ĨŽƌƚŚĞƉĞƌŝŽĚƉƌŝŽƌƚŽƉƌŝůϭϮ͕ϮϬϮϮĂŶĚdϬĨŽƌƚŚĞ
  period after April ϭϮ͕ϮϬϮϮ͘&ŽƌƚŚĞĂǀŽŝĚĂŶĐĞŽĨĚŽƵďƚ͕ŶŽƚŚŝŶŐŝŶƚŚŝƐKƌĚĞƌƐŚĂůůůŝŵŝƚŽƌƌĞƐƚƌŝĐƚdϬ͛ƐƌŝŐŚƚƚŽ
  determine whether to continue with, or terminate, the retention of professionals retained by TCC I, including
  Gilbert.
Case 21-30589-MBK             Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15                         Desc
                             Imaged Certificate of Notice Page 5 of 8


  Application, then upon notice to Gilbert, Gilbert shall no longer represent the Committee with respect to

  the Shared Coverage but shall continue to represent the Imerys Committee and Imerys )XWXUH&ODLPDQWV¶

  Representative. In such circumstances, the Committee has the right to seek to retain separate special

  insurance counsel with regard to the Shared Coverage.

  5.       Gilbert shall keep its time records in tenth-of-an-hour increments in accordance with Local Rule

  2016-2 of this Court and shall otherwise comply with the requirements of that Local Rule, as well as

  Bankruptcy Rule 2016(a), and the United States Trustee Fee Guidelines.

  6.       Gilbert shall apply for compensation in accordance with the procedures set forth in the applicable

  provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rules, this Order and any applicable orders

  of this Court. Gilbert¶V VHUYLFHV DUH VXEMHFW WR WKH VWDQdard of review set forth in section 330 of the

  Bankruptcy Code.

  7.       Gilbert is entitled to reimbursement of actual and necessary expenses, including legal fees related

  to this retention application and future fee applications as approved by this Court.

  8.       The terms and conditions of this Order shall be immediately effective and enforceable upon its

  entry.

  9.       The Committee and Gilbert are authorized and empowered to take all actions necessary to

  implement the relief granted in this Order.

  10.      The Court retains jurisdiction with respect to all matters arising from our related to the

  implementation of this Order.

  11.      The applicant is authorized to retain the above party in the professional capacity noted.

           7KHSURIHVVLRQDO¶VDGGUHVVLV
                   700 Pennsylvania Ave, SE
                   Suite 400
                   Washington, DC 20003

  12.      Compensation will be paid in such amounts as may be allowed by the Court on proper

           application(s).

  13.      $WOHDVWWHQ  GD\VEHIRUHLPSOHPHQWLQJDQ\LQFUHDVHVLQ*LOEHUW¶VUDWHVIRUSURIHVVLRQDOVLQWKLV
Case 21-30589-MBK          Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15                                Desc
                          Imaged Certificate of Notice Page 6 of 8


        case, Gilbert shall file a supplemental affidavit with the Court explaining the basis for the rate

        increases in accordance with section 330 of the Bankruptcy Code. All parties in interest, including

        the U.S. Trustee, retain all rights to object to any rate increase on all grounds, including the

        reasonableness standard provided for in section 330 of the Bankruptcy Code.

  14.   Gilbert will only bill 50% for non-working travel and shall not seek the reimbursement of any fees

        RU FRVWV LQFOXGLQJ DWWRUQH\ IHHV DQG FRVWV DULVLQJ IURP WKH GHIHQVH RI DQ\ RI *LOEHUW¶V IHH

        applications in this case.

  15.   Gilbert agrees to make a reasonable effort to comply with the U.S. TrusWHH¶V UHTXHVWV IRU

        information and additional disclosures as set forth in the Guidelines for Reviewing Applications

        for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

        Larger Chapter 11 Cases Effective as of November  WKH³867UXVWHH*XLGHOLQHV´ 

  16.   Gilbert will use the billing and expense categories set forth in the U.S. Trustee Guidelines (Exhibit

        D-1 "Summary of Compensation Requested by Project Category").

  17.   Gilbert shall provide any and all monthly fee statements, interim fee applications, and final fee

        applications in "LEDES" format to the U.S. Trustee.

  18.   If the professional requested a waiver as noted below, it is ‫ ܆‬Granted ‫ ܆‬Denied.

        ‫ ܈‬Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

        ‫ ܆‬Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a chapter 13

        case. Payment to the professional may only be made after satisfactory completion of services.

  19.   The effective date of retention is February 23, 2022.___________________.
Case 21-30589-MBK    Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15   Desc
                    Imaged Certificate of Notice Page 7 of 8
           Case 21-30589-MBK                     Doc 2111 Filed 04/14/22 Entered 04/15/22 00:13:15                                                Desc
                                                Imaged Certificate of Notice Page 8 of 8
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 12, 2022                                               Form ID: pdf903                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 14, 2022:
Recip ID                 Recipient Name and Address
aty                    + Glenn M. Kurtz, White & Case LLP, 1221 Avenue of the America, New York, NY 10020-1001
aty                    + Jessica Lauria, White & Case LLP, 1221 Avenue of the America, New York,, NY 10020-1001

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/Text: jkim8@its.jnj.com
                                                                                        Apr 12 2022 20:29:00      LTL Management LLC, 501 George Street, New
                                                                                                                  Brunswick, NJ 08933-0001
aty                    + Email/Text: tlindsay@rcdlaw.net
                                                                                        Apr 12 2022 20:29:00      Rayburn, Cooper & Durham, P.A., The Carillon,
                                                                                                                  Suite 1200, 227 West Trade St., Charlotte, NC
                                                                                                                  28202-1672

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 14, 2022                                            Signature:           /s/Gustava Winters
